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AO 106 (Rev. 06/09) Application for a Search Warrant



                                      UNITED STATES DISTRICT COUR'
                                                                    for the
                                                                                                                        NOV 15 2019
                                                        Southern District of California
                                                                                                             CU:!-iK US ~) 1s·; F'1iC r CO Uf-lT
                                                                                                          SOUTH!::~l', 0IS T91CT OF Cu,LIFOR NIA
             In the Matter of the Search of                                                                BY                            DEPUTY
        (Briefly describe the property to be searched                  )
         or identify the person by name and address)                   )
                LG Cellular Telephone
                                                                       )
                                                                       )
                                                                                   Case No.
                                                                                                   19MJ510 9
      Model LGMP260, IMEI 352130-09-964551-6                           )
           Serial number 711 CYUU964551                                )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 As described in Attachment A
located in the             Southern               District of              California           , there is now concealed (identify the
person or describe the property to be seized) :

 As described in Attachment B

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more) :
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                        Offense Description
        18 U.S.C. § 545                            Smuggling and Importation
        16 U.S.C. § 1538                           Trade or Possessing Specimens Traded in Violations of CITES
        16 U.S.C. § 1540                           Engaging in Business as Im porter of Fish and Wildlife Without a License
          The application is based on these facts:
        Set forth in attached affidavit

           0 Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                              £6~~
                                                                                               Applicant 's signature

                                                                                        Eduardo Nieves, FWS Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:       lt/1s:/tol'1                                               Jtff-;;;•
City and state: San Diego, California                                        HON. ANDREW G. SCHOPLER, U.S. Magistrate Judge
                                                                                               Printed name and title
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                             Attachment A



The property to be searched is a black LG cellular telephone model

LGMP260 , IMEI# 352130 - 09 - 964551 - 6 . The serial number is

711CYUU964551 .   The cell u lar telephone is current l y in the possession

of the FWS , 610 Ash Street , Suite 1103 , San Diego , California.
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                             Attachment B

      The fo ll ow i ng evidence to be searched for and se i zed is
limited to evidence of violations o f Title 18 U. S . C § 371
(Conspiracy) ;    Title 18,    U. S . C . § 545 (Smuggling/Importation
Contrary to Law); and Title 16 U. S.C . § 1538 (c) and (d) and 1540
(b) (1) (Unlawful Trafficking in Wildlife) , for the period from
October 1 , 2019 to present :

     1.    Communications , records , or data including but not
limited to emails , text messages , photographs , audio files ,
videos , or location data :

          a.    tending to indicate efforts to import, export ,
                purchase ,   sell,   transport  and/or   ship   sea
                cucumbers , and/or other wildlife protected by the
                Convention on International Trade in Endangered
                Species    (CITES) ,  including related   financial
                information;

          b.    images of sea cucumbers and/or other wildlife
                protected by the Convention on International Trade
                in Endangered Species;

          c.    tending    to indicate   knowledge   of  the   legal
                requirements for the purchase , sale, transport ,
                shipment , import and export of sea cucumbers and/or
                other wildlife protected by the Convent ion on
                International Trade in Endangered Species

          d.    tending to identify other facilities,        storage
                devices , or services-such as email addresses , IP
                addresses ,   phone   numbers - that may     contain
                electronic evidence tending to indicate e ff orts to
                illegally traffic in sea cucumbers;

          e.    tending   to  identify co-conspirators,          criminal
                associates ,  or   oth~rs   involved in           illegal
                trafficking in sea cucumbers ;

          f.    tending to identify travel to or presence at
                locations where sea cucumbers were pur chased , sold ,
                transported and/or delive r ed ;




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         g.   tending to identify the user of, or persons with
              control over or access to, the subject phone; or

         h.   tending to place in context , identify the creator
              or   recipient of ,   or establish the time of
              creation or     receipt of communications, records,
              or data above .




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 1                                         AFFIDAVIT IN SUPPORT OF
                                        APPLICATION FOR SEARCH WARRANT
 2

 3 II I , Eduardo R. Nieves , being duly sworn , depose, and state :

 4 II                                                    INTRODUCTION

 5              1.      I am a Special Agent               ("SA")         of the United States Department

 6 ll of the Interior, Fish and Wildlife Service ("FWS " ) assigned to the San

 7   II   Diego , California, field office.                        I have been employed by the FWS as a

 8   II   Special Agent since July 2011 .                      During my employment with the FWS ,                        I

 9 ll have conducted and participated in numerous investigations pertaining

10 II to      violations       of      federal      and    state wildlife                laws .        Prior to      being

11 II employed as a Special Agent , I held the position of a Wildlife Inspector

12 II for       FWS     from   December           2004    to       July    2011.          I     also    served     as    an

13   II   Investigator for the Guam Attorney General ' s Office (from June 1997 to

14 II November          2004) ,       and     Conservation           Officer         (Game          Warden)    for      the

15   II   Government of Guam ' s Agriculture Department                             (from July 1991 to June

1 6 11 1997) .

17              2.      As a Special Agent for the FWS ,                      I attended the FWS Special

18 II Agent Basic Training at the Federa l Law Enforcement Training Center in

19 II Glynco , Georg i a .            The training I received included instruction on the

20   II   requirements and implementation of the Convention on the I nternational

21   II   Trade in Endangered Species of Fauna and Flora (" CITES") , including the

22 II requirements for importing and exporting species of wildlife covered by

23   II   CITES .     Training      also     included      instruction             for        the   requirements        and

24 II i mplementation             of        the     Endangered            Species         Act ,        including        the

25 II requirements for importing and exporting species of wildlife listed as

26   II   endange r ed .

27              3.      This affidavit is int ended to support an application by the

28 II United          States     of    America       for       a    search    warrant           for     four   cellular
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 1 II telephones found in the possession of John Jaimes Torres                           (hereinafter

 2 ll" the subject phones " ) as he entered the Un i ted States from Mexico . These

 3 II phones are briefly described as :

 4             a.   Silver    iPhone      cellu l ar   telephone model     A1634 ,   FCC     ID#    57 9C

 5       E2944A

  6            b.   Black LG cellular telephone model                LGMP260 ,    IMEI#    352130-09-

 7       964551 - 6 . Serial number is 711CYUU964551 .

 8             c. Black LG cellular telephone model LM - X210MA ,                 IMEI# 357603 - 09 -

  91 11 13463 - 5 . The serial number i s 805CYNL113463 .

10             d.     Black   Samsung       Ga l axy   cellular    telephone     model    A20 ,    IMEI#

11       355720106967460 .

12             I seek authority to search the subject phones , more fully described

13 ll in Attachment A, for items , more fully described in Attachment B, which

14 II constitute evidence of v i olat i ons of federal criminal law by John Jaimes

1 5 II Torres and othe r s ,       re l ating to illegal trafficking in sea cucumbers ,

16 II that is ,      Title 18 ,    United States Code ,           Section 545 ,    which prohibits

17 II smuggling ,      and importation contrary to law ;               Title 16 ,    United States

18 II Code ,      Sections 1 538    (c)    and (d)     and 1540 (b) , which prohibit knowing l y

19 ll engaging in trade or possessing specimens traded in v i olations of the

20 II provisions of CI TES , and knowingly engaging in business as an i mporter

21       of fish and wildlife without a license from the U. S . Fish and Wild l ife

22       Service ; and Title 18 , United States Code , Section 371 , which prohibits

23 II conspiracy to commit offenses against the laws of the United States.

2 4 II         4.     The facts    set forth in th i s        a f fidavit are based on my own

25 II personal knowledge , knowledge obtained from other individuals during my

2 6 II pa r ticipat i on in th i s        investigation ,    including other law enforcement

27 II officers in the United States and Mexico , and information ga i ned through

28 li my tra i ning and expe r ience.             Because this a f fidavit i s       s u bmi tted for
                                                         2
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 ll l the limited purpose of establishing probable cause in support of the

 2 II application for a search warrant , it does not set forth each and every

 3   II   fact     that      I   or       others    have      learned           during     the   course     of    this

 4   II   investigation.

 5   II          5.       Sea cucumbers are aquatic invertebrates and are members of

 6 II the class            Holothuroidea           (not    the classes            defined as      fish) ,   and are

 7 II regulated in the United States as wildlife , not fishery products.

 8                                                 APPLICABLE U.S . LAWS

 9

10               6.       In addition to smuggling (or failing to declare merchandise) ,

11   II   Section 545 of Title 18 of the United States Code also prohibits the

12 II fraudulent or knowing importation of merchandise from the United States

13 II contrary to any U.S. law or regulation (provided that there is a statute

14   II   specifying that a violation of the regulation is a crime) ,                                     or in any

15 !I manner facilitating the transportation,                                 or sale of such merchandise ,

16 II knowing it was imported contrary to law .

17 11            7.       The     Endangered           Species          Act ,     Sections       1538(c)(l)        and

18 11 1540(b) (1) of Title 16 of the United States Code , prohibits engaging in

19 II trade in a species covered by the Convention on International Trade in

20 II Endangered Spec i es (CITES) contrary to the provisions of the agreement.

21 II The        regulations          prohibit         the     import ,         export ,    re-export       and    any

22 II international trade in a species covered by CITES unless in compliance

23 ll with the regulations .                       50 C . F . R .   §   23.13(a).          I n order to lawfully

24   II   export      a   species         covered by CITES,             the     exporter must       obtain ,      at   a

25 !! minimum , a CITES Export Permit from the U.S . Fish and Wildlife Service

26 II ("FWS " ).          50 C . F . R.   §§   23.20 (e) and 23.36 .             The United States and Mexico

27   II   are all signatories to CITES . Only one sea cucumber species found in

28 !! Mexico , Isostichopus fuscus , is l isted in CITES , on Appendix I II .
                                                                    3
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 1                   8.     Import/export            licenses    from     the       FWS       are     required      for   the

 2 II commercial importation and exportation of fish and wildlife, pursuant

 3 llt o 16 U.S.C .               §   1538(d) (1) ,     and 50 C . F.R .        §    14.91.           Fish and Wildlife

 4 II regulations                create     a    rebuttable       presumption                 that    more     than   eight

 5   II   specimens of any single species constitutes a commercial quantity.                                               50

 6   II   CFR    §    14 . 4 .        Federal regulations further require that a declaration

 7   II   form       ( Form 3 -1 77)      be presented to             FWS with each import and export ,

 8 !! pursuant to 50 C .F. R. § 14.61 and 50 C . F.R . § 14 . 63 , respectively .                                         The

 9   II   Form       3 - 177     requires       information       to    be      provided ,           under     penalty     of

10 II perjury ,            regarding the name and address of the importer and exporter ,

11 lithe FWS import/export permit number ,                              the name of the transporter and

12 II the Customs broker , and the scientific and common name of the species

13 II involved,             as well as the quantity ,                 value ,       and country of origin.                 In

14   II   addition ,        to obtain Customs clearance of wildlife exported from the

15   II   United States (required for a lawful export) , an exporter must provide

16 !It o        FWS        all    permits       or    other     documents           required          by     the   laws    or

17 II regulations of any foreign country .                             50 C. F . R .      §    14.52(c) (3) .

18                                          STATEMENT OF PROBABLE CAUSE

19                   9.     On November 13 ,           2019 ,   at approximately 11 : 00 am,                       defendant

20   II   John Ja i mes Torres (Torres) entered the United States from Mexico at the

21 II Otay Mesa Port of Entry , as the driver and sole occupant of a 2003 Fl50

22   II   Ford pickup , registered to him .                     At the primary inspe c tion area , Torres

23   II   twice stated he had nothing to declare from Mexico.                                        The primary officer

24 II conducted a vehicle search and found multiple sealed bags containing

25        dried sea cucumbers concealed within the vehicle .

26                   10.    Torres was referred t o vehicle secondary , where he told the

27        Agriculture Specialist that a friend gave him the bag of sea cucumbers.

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 1 II The Agriculture specialist inquired if Torres had more than one bag of

 2 II sea cucumbers , to which Torres responded "no".

 3         1 1.    In the secondary inspection area,         inspectors found numerous

 4 II packages of dried sea cucumbers concealed in the vehicle .           Three packages

 5 II were found in an orange toolbox , located within the back of the pickup

 6 ll bed . Eight packages were found in a brown toolbox ,            located within the

 7 II back of the pickup bed . Twenty packages were found inside a "KNAACK"

 8 II toolbox     concealed   underneath   three   plastic    tubs.     Three   additional

 9 II plastic tubs were located inside the "KNAACK" toolbox ,                two of which

10 II contained fourteen packages and the other contained fifteen packages.

11 II Fourteen more packages were found below "KNAACK" toolbox , and thirteen

12 II packages were discovered behind rear seats factory compartment panel ,

13 II totaling 101 packages, weighing approximately 145 kgs . In addition , some

14 llof the areas in which the sea cucumbers were concealed were secured by

15 II locks with keys found on TORRES key ring for his vehicle .

16         12 .    No CITES documentation or FWS import/export license related

17 ll to the sea cucumber was located.        The sea cucumbers were identified by

18 Il a Wildlife Inspector at the Port of Entry as of the species Isostichopus

19 II fuscus.     A check of the records o f the FWS indicated that there was no

20 II record of a license from the FWS to import or export fish or wildlife

21 II issued to defendant Torres at any time .

22         13.     After advisement of his Constitutional rights , To rres wai v ed

23   his rights in writing and claimed that he had never seen sea cucumbers

24   before , and was trying to do a favor for a friend .             TORRES c o nfirmed he

25   did not declare the sea cucumbers.            When asked how many bags of sea

26   cucumbers he had, Torres stated "two or three."             Torres acknowledge he

27   owned the vehicle . Torres said he was only going to be paid $20.00 USD ,

28   although he had $1682.00 USD in his possession.
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 1            14.     On November 13, 2019, I took custody of the phone and the sea
 2 II cucumbers seized from Torres .                Based on my experience and training,                 I

 3 II believe        the   sea   cucumbers     seized       from       Torres     is   of   the   species

 4 III sostichopus fuscus,          which is protected under Appendix III of CITES .
 5 II Federal regulations require that a CITES certificate from the country

 6 ll of origin be p r esented at the time of importation for all species covered

 7 llby CITES.         50 CFR §23 .1 3(a) .    Torres had no CITES paperwork with him at

 8 II the time of importation.

 9            15 .    I caused a check to be made of the records of the U.S.                          Fish

10      and Wildlife Service and learned that Torres had no license to import

1 1 II commercial quantities of sea cucumbers .                       Federal regulations establish

12 Il a    rebuttable      presumption       that    eight       or    more     similar     unused   items

13 II constitute a commercial quantity .               50 CFR §14 . 4 .         The approximately 145

14 II kilograms imported by Torres in November of 2019 consisted of well in

15 II excess of eight individual specimens.

16            16 .    At   the   time   he   entered       the   United       States   from    Mexico   on

17      November 13 , 2019 , Torres was in possession of four cellular telephones

18      described as follow:

19            a. Silver iPhone, model Al634 , FCC ID# 579C E2944A,

20 II         b. Black LG model LGMP260, IMEI# 352130 - 09-964551-6. Serial number

21      i s 711CYUU964551 .

22            c. Black LG model LM-X210MA,             IMEI# 357603-09 - 113463 - 5 . The serial

23 II number is 805CYNL113463 .

24            d.     Black Samsung Galaxy model A20 , IMEI# 355720106967460 .

25 II         While he was being interviewed at the Port of Entry , Torres received

26 II multiple cellular calls from a Mexican phone number identified in his

27 II contacts as belonging to "Cisco."

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 1 II        1 7.     Based on my experience and training,                            and conversations with

 2 II others involved in enforcement of laws pertaining to fish and wildlife,

 3 III know that people involved in illegal trafficking in fish and wildlife ,

 4 II and sea cucumbers in particular , frequently send photographs of the sea

 5 II cucumbers or other wildlife to others, to demonstrate the species, size

 6 II and quality of the product .                      Persons trafficking in fish and wildlife,

 7 II and sea cucumber in particular, are also known to send photographs , text

 8 II messages       and    emails         to     others      regarding     shipments         of     sea    cucumber ,

 9 II prices, transportation and delivery arrangements , as well as records of

10 II financial transactions involving the wildlife products.                                         Such persons

11 II also are known to conduct internet research and save documents regarding

12 II the    legal        requirements           for    the    purchase      sale ,    transport ,          shipment ,

13 II import        and    export      of       wildlife       products .    Based      on     my    training      and

14 II experience , and conversations with other law enforcement agents , I know

15 II that commercial dealers in marine species post images of their products

16 ll on    the     internet         and     send      images       and   messages     via      email ,      Facebook

17      Messenger,        WhatsApp ,        and     other      social     media   platforms          to    potential

18      customers     to    facilitate            sales ,     which are      found     on     cell    phones.       In

19llparticular, with respect to international sales ,                                  I    know that business

20 ll is conducted via electronic mail and cell phones , including transmission

21 ll of invoices and records of payment and shipping records ,                                        in order to

22 II facilitate          the       international           transactions.         I     know       that     in   other

23 II investigations            I     have       seen       shipping      records ,        receipts ,       financial

24 II records , and documents sent via email , text messages and apps found on

25 II cell    phones.           I    also       know    that    such      businesses        contact        regulatory

26 lla gencies       (federal , state,             local and foreign ) via email and cell phone ,

27 11 seeking and providing information and documentation.                                      Such businesses

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                                                                7
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 1 II are also known to send and receive via email on links accessed via cell

 2 II phones to informational sites on the internet relevant to their business .

 3 II          18 .   Based on my experience and training in working international

 4 llwildlife         trafficking           investigations ,           I    know   that       individuals     must

 5      communicate wel l         in advance with vendors , brokers ,                    freight forwarders ,

 6      travel agents , and trans-shippers to coordinate the logistics, invoices ,

 7      bills of lading ,         flights ,    and payments of international shipments ,                          and

 8      for purchasers to make arrangements to meet with suppliers and determine

 9      what merchandise          is    available .     For this             reason ,    I    believe there        is

10      probable cause to believe that there is relevant data on the subject

11      phone beginning on or about October 1 , 2019 .

12                                             Cellular Telephone

13             19.    It is not possible to determine, merely by knowing the cellular

14      telephone ' s    make ,    model      and   serial        number,        the    nature      and   types    of

15      services to which the device is subscribed and the nature of the data

16      stored on the device .               Cellular devices today can be simple cellular

17      telephones and text message devices ,                     can include cameras ,              can serve as

18      personal digital assistants and have functions                                 such as      calendars and

19      full   address books and can be mini - computers allow ing for electron i c

20      mail    services ,    web       services      and        rudimentary        word      processing.         An

21      increasing      number         of    cellular       service          providers        now    allow   their

22      subscribers to access their device over the internet and remotely destroy

23      all of the data contained on the dev i ce.                           For that reason ,         the device

24      may only be powered in a secure e n vironment or , if possible , started in

25      "flight mode ," which disables access to the network.                                    Unlike typical

26      computers ,     many cellular telephones                  do       not   have hard drives          or hard

27      drive equivalents and store information in volat il e memory within the

28      device or in memory cards inserted into the device .                                 Current technology
                                                             8
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 1   II   provides some solutions for acquiring some of the data stored in some

 2 II cellular telephone models using forensic hardware and software.                                Even

 3 lli f         some    of   the   stored   information     on    the   device     may    be   acquired

 4 II forensically , not all of the data subject to seizure may be so acquired .
 5 IIFor devices that are not subject to forensic data acquisition or that

 6   II   have    potentially       relevant    data    stored    that   is   not   subject     to   such

 7 II acquisition ,           the examiner must inspect the device manually and record

 8   II   the process and the results using digital photography .                     This process is

 9   II   time, labor intensive, and may take weeks or longer .

10   II           20.    Following the issuance of this warrant,                I   will collect the

11 11 subject cellular telephone and subject it to analysis.                               All forensic

12 II analysis of the data contained within the telephone and its memory cards

13   II   will employ search protocols directed exclusively to the identification

14   II   and extraction of data within the scope of this warrant.

15   II           21 .   Based on the foregoing , identifying and extracting data for a

16   II   cellular       telephone    subject   to     seizure pursuant       to    this   warrant   may

17   II   require a range of data analysis techniques ,                  including manual review,

18   II   and,    consequently , may take weeks or months . The personnel conducting

19   II   the identification and extraction of data will complete the analysis

20   II   within ninety (90) days, absent further application to this court, and

21   II   the cellular phone will be returned to its owner .

22        II
23        II
24        //

25        II
26        II
27        //

28        II
                                                         9
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 1                                         CONCLUSION

 2             22 .   Based on the foregoing , there is probable cause to believe the

 3 II items identified in Attachment B constitute evidence of violations of

 4 II Title 18, United States Code ,       §§ 371 ,   545 and Title 16 ,   United States

 5 II Code ,    §§1538 and 1540, and will be found on the cellular telephone to

 6 ll be searched as described in

 7

 8
                                                Special Agent , USFWS OLE
 9

10
        Subscribed and sworn to before me this        ll~ay    of November 2019

11 11
12 II
           ~                         ,

13 ll ~               ~           HOP1
        UNITED STATES MAGISTRATE JUDGE
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